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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ALABAMA
                               SOUTHERN DIVISION

NECOLE GARDNER, individually and                 )
on behalf of all others similarly situated,      )
      Plaintiffs,                                )
                                                 )
v.                                               )    CIVIL ACTION NO. 17-00362-JB-N
                                                 )
RS CLARK AND ASSOCIATES, INC..,                  )
     Defendant.                                  )


                                              ORDER

       On October 3, 2018, the parties filed a Joint Motion to Vacate Pre-Trial Conference and

Notice of Settlement, which informed the Court that the parties have settled this matter (Doc. 31).

Accordingly, it is ORDERED that all claims in the above-styled action are hereby DISMISSED

with prejudice from the active docket of this Court, subject to the right of any party to move to

reinstate this action within sixty (60) days from the date of entry of this Order should the settlement

agreement not be consummated. As such, all other pending deadlines are CANCELED.

       No further order shall be forthcoming from the Court except upon motion by a party for

entry of a final judgment as prescribed by Federal Rule of Civil Procedure 58. The parties shall

bear their own costs, expenses, and attorneys’ fees in accordance with the terms of the settlement

agreement.


       DONE this 16th day of October, 2018.




                                                       s/JEFFREY U. BEAVERSTOCK
                                                       UNITED STATES DISTRICT JUDGE
